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Michael W. Russo, CEDS
                                                   MIAMI, FLORIDA 33131

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                                                                mrusso@lawgicalinsight.com


   Mr. Russo has worked as an expert and consultant in digital forensics, eDiscovery, and information
   technology for over a decade.


   RECENT EXPERT TESTIMONY & ENGAGEMENTS
     • SEC v. CBSG, Inc., et al, 20-CV-81205-RAR, U.S. Dist. Court for Southern Dist. of Fl.
            o Lead digital forensics and eDiscovery analyst/consultant/expert for court-appointed
                emergency Receiver related to multi-state anti-fraud investigation of over ten
                related entities alleged to have illegally raised half a billion dollars for illegal
                business purposes.
            o Perform continuing digital forensics analysis and digital asset defense on behalf of
                SEC and FBI in support of joint regulatory and criminal investigations.
            o Expert testimony filed in support of motion practice throughout case on complex
                eData issues – including data intrusions, fraudulent financial transactions, email &
                other digital communications tracing & verification; and eData recovery &
                reconstruction.
     • IOA v. Farrow, 2020-CA-000725, Circuit Court, 18th Judicial Circuit, Seminole County
        Fl.
            o Expert testimony filed in support of motion practice on complex eData issues –
                including virtual asset control and libelous communications & publications.
            o Expert testimony under cross examination on these complex eData issues.
            o Testimony led to Defendant’s admission of involvement in illegal online activity,
                including illegal communications.
     • John Van Horn v. Richard Coon, et al, 2015-CA-01999-O, Circuit Court, 9th Judicial
        Circuit, Orange County, Fl.
            o Lead digital forensics and eDiscovery analyst/consultant/expert for defendant party
                to litigation.
            o Audited prior eDiscovery vendor Consilio’s management of eData in litigation,
                including prior eData responsiveness searches; inherited eData management role
                from prior eDiscovery vendor.
     • Virginia v. Mark H. Dean, CR20000302-00, Circuit Court, 16th Judicial Circuit,
        Albemarle County, Va.
            o Lead digital forensics and eDiscovery analyst/consultant/expert for defendant.
            o Provided expert testimony in support of successful motion to exclude digital
                evidence stemming from a Brady Rule violation.
     • U.S. v. Elizabeth P. Young, 19-CR-60157-RAR, U.S. Dist. Court for Southern Dist. of Fl.
            o Expert testimony in support of successful request to continue trial for improper
                production from government agency – including issues with metadata.
     • Florida v. Charles Adelson, 16 CF 03036, Circuit Court, 2nd Judicial Circuit, Leon County,
        Fl.
            o Lead digital forensics and eDiscovery analyst/consultant/expert for defendant –
                including forensic device and digital account collections.
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           o Aid litigation team in reviewing and analyzing extensive investigative materials –
              including wire taps, CDR maps / phone logs, and forensic device images.
   •   Vital Pharmaceuticals, Inc. v. Ball Metal Beverage Container Corp., 0:2020 cv 62253,
       U.S. Dist. Court for the Southern Dist. of Fl.
           o Lead digital forensics and eDiscovery analyst/consultant/expert for defendant party
              to litigation – including forensic device and digital account collections.
   •   Jonathan Lord, M.D. v. UM 13-22500-CIV U.S. Dist. Court for the Southern Dist. of Fl.
           o Lead digital forensics and eDiscovery analyst/consultant/expert for plaintiff party
              to litigation.


PROFESSIONAL EXPERIENCE

Lawgical Insight, Miami, FL
CEO / Founder                                                       July 2018 – Present
  • Lead digital forensics and eDiscovery consultant.
  • Over 100 engagements to locate & collect, reconstruct, preserve, analyze, or opine on
      eData in support of criminal, civil, and private investigations or litigation.
  • Consult on matters involving eData – including metadata – from mobile devices, cloud
      infrastructure, social media, email, file repositories, personal computers, and other
      electronic devices.

Carlton Fields, P.A., Miami, FL
Practice Technology Supervisor                                      April 2012 – July 2018
   • Founded and led in-house eDiscovery department engaged in forensic collection, analysis,
       and review of digital evidence in support of all lawsuits handled by the firm.
   • Responsible for managing and supporting all aspects of litigation technology, including
       but not limited to managing network communications & email infrastructure, databases,
       hardware, and software for over 500 users.

United States Attorney’s Offices (Various Offices), South Florida
Information Technology Specialist                         March 2008 – April 2012
    • Sample major assignment: point of contact for US v AEY, Inc., where the defendant was
       under investigation by the Army and responsible for eDiscovery systems support for the
       investigating Special Agents.
    • Maintained specialized database applications, created databases using Microsoft Access,
       and wrote proprietary software for use by USAOs.
    • Ensured system security by monitoring and controlling access to digital assets and
       defending against eData intrusions.
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TOOL PROFICIENCIES
  • Forensics: Cellebrite Forensics, Oxygen Forensics, Fiddler, ZenMap, Magnet Forensics,
      FTK / Encase, Elcomsoft, OSForensics, Sleuth, AutoPsy & Sumur.
  • eDiscovery & Litigation: Relativity, Logikcull, Everlaw, DISCO, iConectNXT, Ultra
      Suite, Beyond Suite, Concordance, IPRO Enterprise Suite (Eclipse, Allegro, Eclipse SE,
      and Ecapture), CaseMap, CaseNoteook/Livenote, Summation, Sanction, & MS Access.
  • Cloud Infrastructure: Azure (Resources, AD, DNS Zones, PowerShell, etc), Google GSuite
      Admin, ShareGate, Altaro, CodeTwo, Netwrix.


CODING LANGUAGE PROFICIENCIES
  • App. Development: Swift (iOS), C++, C#, DATA BASIC, Java, PHP, & Visual Basic.
  • Cloud / Server: Unix, Apache, Linux (all flavors), & Windows Server.
  • Database: SQL, Oracle, MongoDB, DynamoDB, various other flavors from
     AWS/Azure/Google.
  • Proprietary Scripting: PowerShell, ASP.NET, Python 2.x & 3.x, HTML, Java & Ingres.


CERTIFICATIONS
  • CERTIFIED E-DISCOVERY SPECIALIST (CEDS)
  • SANCTION II
  • CERTIFIED APPLE DEVELOPER
  • FTK / ENCASE CERTIFIED (FORENSIC COLLECTION & ANALYSIS TOOLS)
  • LOGIKCULL
